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                   IN THE UNITED STATES DISTRICT COURT FOR
                         EASTERN DISTRICT OF PENNSYLVANIA
                                                                                 T*ILED
                                                                                     FEB O4 2019
                                                                                 KATE BARKMAN, Clerk
SENECA SPECIALTY INSURANCE                                                      By          Oep. Clerk
COMPANY I

                                             Plaintiff,

                  v.                                              No.

TOP CLASS CONSTRUCTION, INC. and
ALL TECH CARPENTRY CONTRACTORS,
LLC,

                                             :)efendar.ts.


                   AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

        Plaintiff Ser.eca Specialty Ir.surance Company, by and through

its undersigned counsel, Kennedys CMK LLP, as and for its Amended

Coxplaint for ~eclaratory Judgmer.t states as :o::ows:

                                             NATURE OF THE ACTION

        1.        This is an action for declaratory judgment pursuant to

Rule 57 of the Federa: Rules o: Civil Procedure and 28 U.S.C.                                       §

2201,        in   which               Plaintiff     Seneca   Specialty      Insurar.ce     Company

("Seneca")         seeks to reso:ve an actua: controversy as tc Seneca's

ob:igat:ons,             if           any,   in   connection   with     a   commercial     genera:

liabil:ty insurance po:icy (the "Ser.eca Policy")                              issued by Seneca

to Dcfcr.dant,            Top c:ass Construction,              :::nc.   ("':'op Class").

        2.        Seneca seeks a declaration that it does not owe ar.y duty

to defer.ct or indemnify ~op Class or Defcr.dant A:1-Tech Carpentry

Cor.tractors,          :::..,:;:_,c   ("All-Tech")    with respect to the claims al:eged
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agair.st        Top   Class      ar.d       against         All-Tech      in     an     underly:ng

cor.struction         defect     act:on,       captioned          The     Pointe      at   Turr.bury

Condominiu~ Association, Ir.c. v. PPSD Development Company, LLC, et

al.,    Superior Court of New Jersey,                       Midd:esex County,           0ocket No.

MID-L-7211-17         ("Cnderlying Actior.").

        3.      There is a       real,       substant.:.al and justiciab:;_e issue in

controversy between Seneca and Top Class,                              and between Seneca ar.d

All-Tech, regarding their respective rights and obligations ur.der

the pol icy issued to Top C.ass by Ser.eca,                              with   respect         to   the

Underlying Actior..

        4.      A jud:cial determination and a declaration of the rights

and obligatior.s of the parties is necessary and appropriate because

Seneca has ~o other remedy at law which will adequately resolve

the current controversy.

                                 JURISDICTION AND VENUE

        5.      This is an action :or dec:aratory judgment pursuar.t to

28   :.;.s.c.    §    2201    and     Rule    57       of   the    Federa:;_    Rules      of    Civil

Procedure.

        6.      The Court has jur:sdiction over this matter pursuant to

28     U.S.C.     §   1332(a),        as    this       actior.    is    between       citizens       of

differer.t s~ates and the amount in controversy exceeds $75,CCC.

        7.      Venue is proper in the Eastern D1str:ct of Pennsy:vania

p:.:rs;;ar.t    to    28     U.S.C.     §   :;_391 (b) (1),       as    Defendant.      Top      Class




                                                   ?
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Construction, ;nc. is a corporation that is deemed to reside within

the judicial district of the Easterr. Jistrict of Pennsylvania.

                                         THE PARTIES

      8.      Seneca         Specialty    Insurance      Company         ("Seneca")    is    a

corporation domiciled in the State of ]elaware with its principal

p:ace of business in the State of New York.                     At all times relevant

to this action, Seneca was and is an e1~gible excess and surplus

lines insurer in the Cornrnonwea:th o: Pennsylvania.

      9.      upon       information       ar.d   belief,       Defendant        Top   c:ass

Construction,         Inc.     ("Top Class")      is a   corporation domiciled              in

Pennsylvania, with the principal place of business at 6942 Souder

Street, Philade:phia, Pennsylvania, 19149.

      :. 0.   'Jpon      information       and    belief,       A,   1    Tech    Carpentry

Contractors,        ~LC is a New Jersey limited liability company,                      none

o: whose members are citizens of Delaware or New York.

                                  FACTUAL ALLEGATIONS

A.    The Underlying Action

      :.1.    Or. Jecembcr 6, 2017, The Pointe at Turnbury Condominium

Association,        :::nc.   filed a Complaint against numerous defendar.ts,

:ncluding A:.l Tech,           a:leging var:ous construct:on defects at The

Pointe at Turnbury             ("Pro:ect")        The Coxplaint a:.leged tha~ All

Tech had contracted to perforx fra~ing work at the ?rojcc~.

      12.     The      Complaint     alleges      that    All        Tech,   axong     other

defendants, negl1gent:.y constructed, planned, designed, deve:.opcd,



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repaired or maintained "the buildings, facades,                               roofs and com:1on

ele~ents" causir.g alleged "failure of siding on b~ildings,                                    roofs

and water infi:tratio~ to various units."

        13.      The Complaint sets forth cat:ses of action against A.;..l

':'ech for breach of car.tract,              breach of warranties,                 negl:..gence,

violations         of    the    Cons~mer     Frat:d         Act,      strict    liability        ar.d

"defective materials."

        14.      Or. March 16, 20:8, All ~ech filed a Third-Party Complaint

("TPC") against a number of third-party defendants, :..ncluding ':'op

Class.

        :;_5.    The    TPC    alleges     that       Top     Class    had     entered    into     a

contract with A:!.l            Tech and had provided "services                     relative to

framing" at the Project.               Based on those allegations, the TPC sets

forth     causes of actio:1 against ~op Class                          for    cont:ribution and

indemnificatio:1 u:1der the Joint Tortfeasor's Cor.tribt:tio:1 Action,

N.J.S.A. 2A:53A-1 et seq., co:1tractual indemnificatio:1, breach of

co~tract to procure inst:rance coverage, and breach of contract.

B.      Seneca Policy

        :6.      Seneca       issued   a   commercial          general        liability    policy

("Se~eca Policy")             to Top c:ass, po:icy number BAG-1018077, which

became effective 0:1 December :1, 2012, a~d was cancelled for no~-

pay:ne~t        effective      February    28,        2013.     (See    Policy     attached       as

Exhibit "A".)

                        ~ech     first     provided         notice       to    Ser.eca    of     the



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Gnderlying Act:on by letter dated ~ay 1,                      20:8, and demanded that

Seneca provide All Tech with a defense and :ndemnification as an

additional insured.

     18.    Seneca disclaimed coverage to A::.l ~ech by letter dated

May 8, 2018.

     19.    Fo::.lowing receipt of notice of                   the Underlying Action,

Seneca made numerous attempts to contact ~op Class, but Top Class

did not respond to those attempts and did not provide notice or

information to Seneca as to the Under::.ying Action.

     20.    By letter dated June 18, 2018, Seneca disclaimed coverage

to ~op Class with regard to the claims asserted in the Cnderlying

Action.

     21.    Seneca issued a supp::.emental disclaimer to Top Class by

letter dated October 22, 2C:8.

                                          COUNT I

                     DECLARATORY JUDGMENT - TOP CLASS

     22.    Seneca incorporates herein by reference the allegations

set forth 1n paragraphs: through 21 as though set :orth at length

herein.

     23.    Pursuant       to   28   U.S.C.       §   2201,    Seneca        seeks    Judgment

declaring    that    the    Seneca        Policy      does    not,     for    the     following

reasons,    afford   coverage        to    Top Class         for     the   c:..aims   asserted

against 1t in the Cnderlying Action:




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a.    The c:aims asserted against 7op Class ir. the Underlyir.g

      Action do not     seek daxages        for    "property damage",     as

      that term :s def:ned :n the Seneca Policy.

b.    The claims asserted against Top Class in the underly:ng

      Action do not seek damages for "property damage" caused

      by an "occurrence," as those terms are defir.ed in the

      Seneca Policy;

c.    Any claim for alleged "property damage" is for "property

      damage" that did not take place during the policy period

      of the Seneca Policy;

d.    Any c:aim for alleged "property damage" is for "property

      damage" to the part of property that must be repaired or

      replaced   because    Top       Class's     "work"   was   incorrectly

      performed on it, and/or resu:ted from damage to the part

      of real property that Top c:ass or its subcontractors

      had been workir.g on ar.d arose :rom those operatior.s, ar.d

      therefore :s barred by exclusion j (5) and j (6) contained

      in the Seneca Policy;

e.    Ar.y c:aim for alleged "property damage" is for "property

      damage" to "your prod~ct," as those terms are defined by

      the Seneca Policy, ar.d is barred by exclusior. (k) in the

      Seneca Policy;

f.    To the exter.t any c:aim :s for alleged "property damage"

      which wou:d not have occurred,            1n who:e or 1n part, but



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                for     the    actual,      alleged            or        threate:-ied     co:-itact    with,

                exposure to, existence of, or presence of, any "fungi"

                or    bacteria     on      or    within              a    bui.:.ding     or     structure,

                includi:-ig its contents,                     such damage is barred by the

                Fungi or Bacteria exclusion;

       g.       The clairr.s against Top c.:.ass are barred from coverage by

                the Contractual Liabi~ity exclusion; and

       h.       Top     Class    has     fa.:..:.ed       to    comply with              the    conditions

                precedent to coverage as set :orth in the Seneca Policy

                by fai.:.ing to provide timely notice of the C:-ider.:.ying

                Action                 fa.:.ling          to         cooperate           with      Seneca's

                investigatio:1.

       WHEREFORE, Seneca demands judgment that it has no duty under

the Seneca Policy to defend and/or indemnify Top Class for the

claims brought against it in the U:-iderlying Action.

                                               COUNT I I

                          DECLARATORY JUDGMENT - ALL TECH

       24.      Seneca i:-icorporates herein by reference the a.:.legati.ons

set forth in paragraphs: through 23 as though set forth at le:-igth

r.erein.

       25.      Pursuant        to 28    U.S.C.           §    2201,        Se:;eca      seeks     j'..:dgment

dec.:.ar.:.ng    that    the     Seneca      Pol.:.cy does                not,     for    the     :ollow.:.ng

reasons,        afford coverage           to    A.:. l        Teet       for     the   cl a :ms    asserted

agai:-ist it .:.n the Underlying Action:



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      All Tech does no: qua:ify as an ins~red ~nder the Seneca

       Policy;

 j.   The c:aims asserted against All Tech in the ~nder~ying

      Action do not seek da~ages for "property damage" as that

      term is defined in the Seneca Policy;

 k.   The claims asserted against All Tech in the Underlying

      Action do not seek damages for "property damage" caused

      by an "occurrence," as those terms are defined in :he

      Seneca Policy;

 1.   Any claim for alleged "property da~age" is for "property

      da~age" that did not take place during the po:icy period

      of the Seneca Policy;

m.    Any claim for alleged "property damage" is for "property

      damage" to the part of property that ~ust be repaired or

       replaced   because    All       Tech's   "work"   was   incorrectly

      performed on it, and/or resulted from damage to the part

      of real property that Al: Tech or its subcontractors had

      been work1 ng on and arose           from those operations,        and

      therefore   lS   barred by exclus:on j (5) and: (6) contained

      in the Seneca Policy;

 n.   Any claim for "property da~aqe" is for "property damage"

      to "your product," as            those terms are defined by the

      Seneca Polley,      and is barred by exc:usior.          (k)   in ':.he

      Seneca Policy; and



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       o.    To the extent any claim is for al:eged "property damage"

             which would not have occurred, in whole or in part, but

             for    the    act:1al,   a:leged         or        threatened    contact    wi:..h,

             exposure to,       existence of,          or presence of,             any "fungi"

             or    bacteria     on    or   within           a    building     or    structure,

             including      its contents,        such damage             is barred by the

             Fungi or Bacteria exclusion;

       26.   WHEREFORE,      Seneca deCTands judgrr.ent that it has no duty

under the Seneca Policy to defend and/or indemnify All Tech for

the claims brought against it in the Underlying Act:on.

                          REQUEST FOR DECLARATORY RELIEF

       WHEREFORE,     Plaintiff       Seneca      Specia:ty             Insurance      Company

("Seneca") prays for judgCTent in its favor and agair.st Defendants

A: l   ':'.'ech Carper.try Contractors,         LLC        ( "A: l   Tech")   and ~op c:ass

Construction, Inc.         ("Top Class") as follows:

             a. Declaring that Seneca has no duty under the Seneca
                Pol icy to def end or inde:r.ni fy Top Class as to the
                cla:ms asserted against it in the Under:ying Action;

             b. Declaring that Seneca has no d:.:ty :1nder the Seneca
                Policy to defend or indemnify All Tech as to the claims
                asserted against it 1n the Underlying Action; and

             c. Awarding attorneys' fees, costs of suit, and such
                other relief as the Court may consider equitable, fair
                and proper.


                                                 Respectfu:ly submitted:


                                                      \k
                                                      v




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                                     Vic:oria Allen, Esq.
                                     KENNEDYS CMK LLP
                                     Two Liberty Place
                                     50 S. 16th Street, Suite 2625
                                     Ph1:adelphia, PA 19102
                                     Te:: (267) 479-6700

                                     and

                                       /s/ Gary S. Kull
                                     Gary S. Kull, Esq. (:o be
                                     adr.1::~ed pro hac vice)
                                     Alexa J. Nasta Schmid, Esq.
                                     (:o be ad~itted pro hac vice)
                                     KENNE:JYS C~K ::.,:;_,p
                                     120 Mountain View Bou:evard
                                     P.O. Box 650
                                     Basking R:dge, NJ 07920
                                     ':'e::.:   (908)848-6300
                                     Attorneys for Plaintiff
                                     Seneca Specialty Ins~rance
                                     Company




                                :o
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         Exhibit A
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                                    COMMON POLICY DECLARATIONS
SENECA SPECIALTY INSURANCE                                                                                                     POLICY NUMBER
                                                                                                                               BAG-1018077
COMPANY
160 Water Street                                                                                                               RENEWAL OF:
                                                                                                                               NEW
New York, NY 10038

l. NAMED INSURED AND MAILING ADDRESS:                                                        PRODUCER:
Top Class Construction, Inc.                                                                Excel Insurance
DBA:                                                                                         100 Ametican Metro Blvd., Suite 104
6942 Souder St.                                                                             Hamilton NJ-08619
PHILA PA-19149
2. POLICY PERIOD: From 12-11-2012 to 12-11-201.3 12:01 A.M. Standard Ti.me at your Marling Address above.


 IN RETURN FOR THE PAYMENT OF THE PREMTIJM, AND SUBJECT TO ALL OF THE TERMS OF THIS POLICY, WE AGREE
 WITH YOU TO PROVIDE THE INSURANCE AS STATED IN TifIS POLICY.

3. THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.
   THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                              COVERAGE PARTS                                                                                   PREMIUM
Commercial General Liability Coverage Part                                                                                 $            894.00
Commercial Property Covernge Part                                                                                              Not Covered
Commercial Inland Marine Coverage Part                                                                                         Not Covered
Commercial Garage Coverage Part                                                                                                Not Covered
Owners and Contractors Protective Liability Coverage Part                                                                      Not Covered
Coverage for Ce11ified Acts of Terrorism Rejected; Exclusion attached.                                                          0
State Tax                                                                                                                  $             26.82
Policy Fee                                                                                                                 $             75.00
Stamping Fee                                                                                                               $             25.00
Inspection Fee                                                                                                             $            125.00
   Premium slmwn is payable at inception.                                                  Total Policy Premium:                     $1,145.82

4. FORMS APPLICABLE TO ALL COVERAGES:
                   See Schedule of Forms and Endorsements - SBOOl
~. BUSINESS DESCRIPTION: Carpentry Contractor

Countersigned: 01-04-2013                                                                       By:
                 Date



                                                                                                           Dennis Pellegrino
                                                                                                        Authorized l'epresentattve
The insurer which has issued this insurance is not licensed by the Pennsylvania Insurance
Depa1·t1ne11t and is subject to limited regulation. This insurance is NOT covered by the
Pennsylvania Insurance Gual'anty Association.




                                                                                                                                    CERTIFIED COP1
                                     lnclude,i copyrlghled material at nSUl'llllCe SolVloos Olli ca. Ire wNll ls permission.
88050-0609                                             Copytlgll~ il>SLk'llnCBSOIVl!:"6 0/ftca, Inc., 1119.\                                     Page 1 of 1
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         Tt~E
    S ENECA _____
    =·~~ . .,~,~·~
                COMPANIES




IN WITNESS WHEREOF, the Company has caused this policy to be signed by its president and secretary and
countersigned on the declarations page by a duly authorized representative of the company.

                 ·, . . / '
                t(/o_,.__.1.c (.ll---   -
    SECRETARY                                                                     PRESIDENT




42-024                                                                                           0612
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                             SENECA SPECIALTY INSURANCE COMPANY

POLICY NUMBER: BAG-1018077


                                        SCHEDULE OF FORMS AND ENDORSEMENTS



NUMBER        ED PATE
FORMS APPLICABLE-COMMON POLICY DECLARATIONS
SB050         0609      Common Policy Dec1ara1ions
42-024        0612      Signature Page
SB001         0609      Forms Ust
IL0017        1198      Common Policy Conditions
SB558         0609      Minimum Premium
SB560         0609      Service of Suit
FORMS APPLICABLE-GENERAL LIABILITY COVERAGE
SB049         0609      Commercial General Uablllty Coverage Part Declarations
CG0001        1207      Commercial General Liability Coverage Form
SB024         0609      Mlscelaneous Exclusions Endorsement
SB022         0609      Hazardous Materials Exclusion
IL0021        0908      Nuclear Energy Uabllity Exclusion
CG2167        1204      Fungi or Bacteria Exclusion
CG2147        1207      Employment Related Practices Exclusion
CG2141        1185      ExclUSlon lntercompany Products Suits
CG2139        1093      Convactu!II Liablllty Limitatlon
SB051         0609      Contractors Coverage Limitation And Audit
SB073         0609      Certified Acts Of Terrorism And Other Acts Of Terrorism Exclusioo
SB064         0609      Limitation of Coverage to Business Description
ANY APPLICABLE STATE FORMS

S8508         0609      PA Changes
IL0910        0702      Pennsylvania Notice




 SB001-0609                                                                                 Paga 1 of 1
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                                                                                                    IL 001711 98


                           COMMON POLICY CONDITIONS
All Coverage Parts Included In this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown In the Declara-                       and
       tions may cancel this policy by malling or de-                c. Recommend changes.
       livering to us advance written notice of cancel-          2. We are not obllgated to make any Inspections,
       lation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
      ering to the first Named Insured written notice               surability and the premiums to be charged. We
      of cancellation at least:                                     do not make safety Inspections. We do not un-
       a. 10 days before the effective date of cancel-              dertake to perform the duty of any person or
           laUon lf we cancel for nonpayment of pre-                organization to provide for the health or safety
           mium; or                                                 of workers or the public. And we do not warrant
                                                                    that conditions:
       b. 30 days before the effective date of cancel-
          laUon If we cancel for any other reason.                  a. Are safe or healthful; or
   3. We will mall or deliver our notice to the first               b. Comply with laws, regulations. codes or
       Named lnsured's last mailing address known to                    standards.
       us.                                                       3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
      date of cancellation. The policy period will end              rate service or similar organization which
                                                                    makes Insurance Inspections, surveys, reports
      on that date.
                                                                    or recommendations.
   5. If this policy ls cancelled, we will send the first
      Named Insured any premium refund due. If we                4. Paragraph 2. of this condition does not apply
      cancel, the refund will be pro rata. If the first             to any Inspections, surveys, reports or recom-
                                                                    mendations we may make relative to certifica-
      Named Insured cancels, the refund may be
      less than pro rata. The cancellation will be ef-              tion, under state or municipal statutes, ordi-
      fective even If we have not made or offered a                 nances or regulations, of ballers, pressure ves-
      refund.                                                       sels or elevators.

   6. If notice Is maile(:I, proof of mailing will be suf-   E. Premiums
      ficient proof of notice.                                   The first Named Insured shown In the Declara-
B. Changes                                                       tions:
   This policy contains all the agreements between               1. Is responsible for the payment of all premiums;
   you and us concerning the Insurance afforded.                    and
   The first Named Insured shown in the Declara-                 2. Will be the payee for any return premiums we
   tions Is authorized to make changes In the terms                 pay.
   of this pollcy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                  This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an lndlvldual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties wlll be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative Is ap-
      a.   Make Inspections and surveys at any time;            pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




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                          SENECA SPECIALTY INSURANCE COMPANY
                               TIDS ENDORSEMENT CHANGES THE
                              POLICY. PLEASE READ IT CAREFULLY.

                                     MINIMUM POLICY PREMIUM
The followi.ng additional policy Conditions supercede any other policy conditions as regards the "minimwn earned premium" for
this policy:
Minimum Earned Premium
This policy is subject to a "mmimum earned premium". "Murimum earned premium" meat~ the premium that is calculated as
follows:
  1. The total policy premium as shown in the policy Declarations, plus
  2. Any premium adjustment by endorsements, plus
  3. Ally additional premiwn developed by audit.
Audits and Minimum Earned Premium
Audits will not reduce the "minimum earned premium". The due date for audit premiums is the date shown as the due date on
the bill.
Cancellation and Minimum Earned Premium
1. If you cancel this pohcy, the return premium will be 90% oftbe pt'o rata balance of any remaining uneruned premium but no
less than 25 % of the "minimum earned premium".
2. Ifwe cancel the pohcy for any reason, other than for non-payment of premium, the "mirumwn earned premium" shall not
apply. We will return to you the pro rata amount of the unearned premiwn.

  ALL OTHER TERMS A..'\TD CONDITIONS OF THE POLICY REMAIN UNCHANGED.




SB558-0609                                                                                                 Page 1 of 1
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               SENECA SPECIALTY INSURANCE COMPANY

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                   CAREFULLY

                                 SERVICE OF SUIT
 Service of process may be made upon the Company to:


 Vice President of Claims
 Seneca Specialty Insurance Company
 160 Water Street, 16th Floor
 New York, NY 10038


 Where required by statute, regulation or other regulatory directive, the Company appoints the
 Commissioner of Insurance, or other designee specified for that purpose, as its attorney for
 acceptance of service of all legal process in the state in any action or proceeding arising out of this
 insurance.

The Commissioner or other designee is requested to forward process to the Company as shown
above, or if required in his/her particular state, to a designated resident agent for service of process.



  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




SB560-0609                                                                              Pagel of 1
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                                SENECA SPECIALTY INSURANCE COMPANY

           COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS
This coverage pait consists of this Declarations foml, the Common Policy Conditions, the Conunercial General Liability
Coverage Form and the endorsements indicated as applicable. (See COMMON POLICY DECLARATIONS for items 1
and 2.)

POLICY NO:                        BAG-1018077
NAMED INSURED :                   Top Class Construction, Inc.
DBA:
p.LIMITS OF INSURANCE
General Aggregate Limit (Other Than Products - Completed Operations)                          $2,000,000
Pl'Oducts Completed Operations Aggregate Limit                                                $2,000,000
Personal and Advertismg Injury Limit                                                          $1,000,000
Each Occurrence Limit                                                                         $1,000,000
Damage To Premises Rented To You Limit                                                        $100,000                   Any One Premises
Medical Expense Limit                                                                         $5,000                     Any One Person

   RETROACTIVE DATE (CG 00 02 only) - Coverage A of this insurance does not apply to "bodily injury" or "Property damage"
   wlnch occurs before Retroactive Date, 1fany, shown below.

 Retroactive Date: None                                                      (Enter Date or "None" 1fno Retroactive Date Applies)

     Location of All Premises You Own, Rent or Occupy (Same as Item 1 unless shown below):
Location                   Address
 1                          6942 Souder St., PHil.A PA 19149

                                                                                                                            ADVANCE PREMIUM

 LOCATION ":LASSIFICATION                                          CODE PREMIUM EXPOSURE RATE                               PR/CO    ALL OTHER
       #                                                           NO.  BASIS

        1    Carpe11try                   91342 Payroll                                               15,000 $ 59.5800 Included               $894
      4. FORMS I ENDORSEMENTS APPLICABLE:                                                           TOTAL PREMIUM FOR                         $894
                                                                                                   THIS COVERAGE PART*
    SEE SCHEDULE OF FOR..'VlS AND ENDORSEJ.'vIENTS - FORM SBOOl
 * Subject to minimum premium.


     5. FORM OF BCSINESS: Corporation
     Audit Period: Annual unless otherwise stated:




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 00 0112 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.          b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,            "properly damage" only if:
duties and what is and is not covered                            {1) The "bodily injury" or "property damage• is
Throughout this policy the words "you" and "your"                    caused by an "occurrence" that takes place
refer to the Named Insured shown In the Declarations,                in the "coverage territory";
and any other person or organization qualifying as a             (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we",                     occurs during the policy period; and
"us" and "our'' refer lo the company providing this
insurance.                                                       (3) Prior to the policy period, no insured listed
                                                                     under Paragraph 1. of Section II - Who Is
The word "insured" means any person or organization                  An Insured and no "employee" authorized
qualifying as such under Section II - Who Is An In-                  by you to give or receive notice of an "oc-
sured.                                                               currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                     jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V -                     whole or in part. If such a listed insured or
Definitions.                                                         authorized "employee" knew, prior to the
SECTION I - COVERAGES                                                policy period, that the "bodily injury" or
                                                                     "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                                tinuation, change or resumption of such
DAMAGE LIABILITY                                                     •bodily injury" or "property damage" during
1. Insuring Agreement                                                or after the policy period will be deemed to
                                                                     have been known prior to the policy period.
   a. We will pay those sums that the insured be-
      comes legally obligated to pay as damages               c. "Bodily injury" or "property damage" which
      because of "bodily injury" or "properly damage•            occurs during the policy period and was not,
      to which this insurance applies. We will have              prior to the policy period, known lo have oc-
      the right and duly lo defend the insured against           curred by any insured listed under Paragraph
      any "suit" seeking those damages. However,                 1. of Section II - Who Is An Insured or any
      we will have no duty lo defend the insured                 "employee" authorized by you to give or re-
      against any "suit" seeking damages for "bodily             ceive notice of an "occurrence" or claim, in-
      injury" or "property damage" to which this in-             cludes any continuation, change or resumption
      surance does not apply. We may, at our discre-             of that "bodily injury" or "property damage" af-
      tion, investigate any "occurrence" and settle              ter the end of the policy period.
      any claim or "suit" that may resull. Bui:               d. "Bodily injuryu or "property damage" will be
     {1) The amount we will pay for damages is                   deemed lo have been known to have occurred
          limited as described in Section Ill - Limits           at the earliest time when any insured listed un-
          Of Insurance; and                                      der Paragraph 1. of Section II - Who Is An In-
     {2) Our right and duly to defend ends when we               sured or any "employee" authorized by you to
         have used up the applicable limit of insur-             give or receive notice of an "occurrence• or
                                                                 claim.
         ance in the payment of judgments or set-
         tlements under Coverages A or B or medi-               (1) Reports all, or any part, of the "bodily injury"
         cal expenses under Coverage C.                             or "property damage" to us or any other in-
                                                                    surer;
      No other obligation or liability to pay sums or
      perform acts or services is covered unless ex-            (2) Receives a wrillen or verbal demand or
      plicitly provided for under Supplementary Pay-                claim for damages because of lhe "bodily
      ments - Coverages A and B.                                    inJury" or "property damage"; or
                                                                (3) Becomes aware by any other means thal
                                                                    ubodily injury" or "property damage" has oc-
                                                                    curred or has begun lo occur.




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    e. Damages because of ubodily injury" include               c. Liquor Liability
      damages claimed by any person or organiza-                   "Bodily injury" or Hproperty damage" for which
      tion for care, loss of services or death resulting           any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                   {1) Causing or contributing to the intoxication of
2. Exclusions                                                          any person;
   This insurance does not apply to:                               {2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                      person under the legal drinking age or un-
      "Bodily injury" or "property damage" expected                    der lhe influence of alcohol; or
      or intended from the standpoint of the insured.              (3) Any statute, ordinance or regulation relating
      This exclusion does not apply to "bodily injury•                 to the sale, gift, distribution or use of alco-
      resulting from the use of reasonable force to                    holic beverages.
      protect persons or property.                                 This exclusion applies only if you are in the
   b. Contractual Liability                                        business of manufacturing, distnbuling, selling,
      "Bodily injury" or "property damage" for which               serving or furnishing alcoholic beverages.
      the insured is obligated to pay damages by                d. Workers' Compensation And Similar Laws
      reason of the assumption of liability in a con-              Any obligation of the insured under a workers'
      tract or agreement. This exclusion does not                  compensation, disability benefits or unem-
      apply to liability for damages:                              ployment compensation law or any similar law.
      (1) That the insured would have in the absence            e. Employer's Liability
          of the contract or agreement; or
                                                                   "Bodily injury" to:
      (2) Assumed in a contract or agreement that is
          an "insured contract", provided the "bodily              (1) An "employee" of lhe insured arising out of
          injury" or "property damage" occurs subse-                   and in the course of:
          quent lo the execution of the contract or                   (a) Employment by the insured; or
          agreement. Solely for the purposes of liabil-
                                                                      {b) Performing duties related to the conduct
          ity assumed in an "insured contract", rea-
                                                                          of the lnsured's business; or
          sonable al!orney fees and necessary litiga-
          tion expenses incurred by or for a party                (2) The spouse, child, parent, brother or sister
          other than an insured are deemed to be                       of lhat "employee• as a consequence of
          damages because of "bodily injury" or                        Paragraph (1) above.
          uproperty damage", provided:                             This exclusion applies whether the insured
         (a) Liability to such party for. or for the cost          may be liable as an employer or in any other
               of, that party's defense has also been              capacity and to any obligation to share dam-
               assumed In the same "insured contract";             ages with or repay someone else who must
               and                                                 pay damages because of the injury.
         (b) Such attorney fees and litigation ex-                 This exclusion does not apply to liability as-
             penses are for defense of that party                  sumed by the insured under an "insured con-
             against a civil or alternative dispute                tract".
             resolution proceeding in which damages
             to which this insurance applies are al-
             leged.




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    f. Pollution                                                     (d) At or from any premises, site or location
       {1) ·sodily injury" or "property damage" arising                  on which any insured or any contractors
           out of the actual, alleged or threatened dis-                 or subcontractors working directly or in-
           charge, dispersal, seepage, migration, re-                    directly on any insured's behalf are per-
           lease or escape of "pollutants":                              forming operations if the "pollutants" are
                                                                         brought on or to the premises, site or lo-
         (a) Al or from any premises, site or location                   cation in connection with such opera-
             which is or was at any time owned or                        tions by such insured, contractor or sub-
             occupied by, or rented or loaned lo, any                    contractor. However, this subparagraph
             insured. However, this subparagraph                         does not apply to:
             does not apply to:
                                                                           {i) "Bodily injury" or "property damage"
             (i) "Bodily injury" if sustained within a                          arising out of the escape of fuels, lu-
                 building and caused by smoke,                                 bricants or olher operating fluids
                 fumes, vapor or soot produced by or                           which are needed to perform the
                 originating from equipment that is                             normal electrical, hydraulic or me-
                 used to heat, cool or dehumidify the                          chanical functions necessary for the
                 building, or equipment Iha! is used lo                        operation of Nmobile equipment" or
                 heat water for personal use, by the                           its parts, if such fuels, lubricants or
                 building's occupants or their guests;                         other operating fluids escape from a
            (ii) "Bodily injury" or "properly damage"                          vehicle part designed to hold, store
                 for which you may be held liable, if                          or receive them. This exception does
                 you are a contractor and the owner                            not apply if the "bodily injury" or
                 or lessee of such premises, site or                           •properly damageu arises out of the
                 location has been added to your pol-                          intentional discharge, dispersal or re-
                 icy as an additional insured with re-                         lease of the fuels, lubricants or other
                 spect to your ongoing operations                              operating fluids, or if such fuels, lu-
                 performed for that additional insured                         bricants or other operating fluids are
                 at that premises, site or location and                        brought on or to the premises, site or
                 such premises, site or location is not                        location with the intent that they be
                 and never was owned or occupied                               discharged, dispersed or released as
                 by, or rented or loaned to, any in-                           part of the operations being per-
                 sured, other than that additional in-                         formed by such insured, contractor
                 sured; or                                                     or subcontractor;
           (iii) "Bodily injury" or "property damage"                     {ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                          sustained within a building and
                 from a "hostile fire•;                                       caused by the release of gases,
        {b) At or from any premises, site or location                         fumes or vapors from materials
            which is or was at any time used by or                            brought into that building in connec-
             for any insured or others for the han-                           tion with operations being performed
             dling, storage, disposal, processing or                          by you or on your behalf by a con-
             treatment of waste;                                              tractor or subcontractor; or
        {c) Which are or were at any lime trans-                          (iii) "Bodily injury" or "property damage"
            ported, handled, stored, treated, dis-                            arising out of heat, smoke or fumes
            posed of, or processed as waste by or                             from a "hostile fire".
            for.                                                     (e) At or from any premises, site or location
            {i) Any insured; or                                          on which any insured or any contractors
                                                                         or subcontractors working directly or in-
            {ii) Any person or organization for whom                     directly on any insured's behalf are per-
                you may be legally responsible; or                       forming operations if the operations are
                                                                         to test for, monitor, clean up, remove,
                                                                         contain, treat, detoxify or neutralize, or
                                                                         in any way respond to, or assess the ef-
                                                                         fects of, "pollutants".




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      (2) Any loss, cost or expense arising out of                  (5) "Bodily injury" or Nproperty damage" arising
           any:                                                         out of:
          (a) Request, demand, order or statutory or                   (a) The operation of machinery or equip-
               regulatory requirement that any insured                      ment that is attached to, or part of. a
               or others test for, monitor, clean up, re-                  land vehicle that would qualify under the
               move, contain, treat, detoxify or neutral-                  definition of "mobile equipment" if ii were
               ize, or in any way respond to, or assess                    not subject to a compulsory or financial
               the effects of, "pollutants~; or                            responsibility law or other motor vehicle
         (b) Claim or "suit" by or on behalf of a gov-                     insurance law In the state where ii is li-
               ernmental authority for damages be-                         censed or principally garaged; or
               cause of testing for, monitoring, cleaning              (b) the operation of any of the machinery or
               up, removing, containing, treating, de-                     equipment listed in Paragraph f.(2) or
               toxifying or neutralizing, or in any way                    f.(3) of the definition of "mobile equip-
               responding to, or assessing the effects                     ment".
               of, "pollutants".                                 h. Mobile Equipment
           However, this paragraph does not apply to                "Bodily injury" or "properly damage" arising out
           liability for damages because of "property               of:
           damage• that the insured would have In the
           absence of such request, demand, order or               (1) The transportation of "mobile equipment" by
           statutory or regulatory requirement, or such                an "auto" owned or operated by or rented or
           claim or "suit" by or on behalf of a govern-                loaned to any insured; or
           mental authority.                                       (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                     in practice for, or while being prepared for,
                                                                       any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                 or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, 11auto11 or wa-       i. War
      tercraft owned or operated by or rented or                     "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                  caused, arising, directly or indirectly, out of:
      and "loading or unloading".                                   (1) War, including undeclared or civil war;
      This exclusion applies even if the claims                     (2) Warlike action by a military force, including
      against any insured allege negligence or other                    action in hindering or defending against an
      wrongdoing in the supervision, hiring, employ-                    actual or expected attack, by any govern-
      ment, training or monitoring of others by that                    ment, sovereign or other authority using
      insured, if the "occurrence" which caused the                     military personnel or other agents; or
      "bodily injury" or "property damage" involved
      the ownership, maintenance, use or entrust-                  (3) Insurrection, rebellion, revolution, usurped
      ment to others of any aircraft, "auto" or water-                  power, or action taken by governmental au-
      craft that is owned or operated by or rented or                   thority in hindering or defending against any
      loaned lo any insured.                                            of these.
      This exclusion does not apply to:                          j. Damage To Prop,uty
     (1) A watercraft while ashore on premises you                   "Property damage" to;
         own or rent;                                              (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is;                          any costs or expenses incurred by you, or
                                                                       any other person, organization or entity, for
         (a) Less than 26 feet long; and                               repair, replacement, enhancement, restora-
         (b) Not being used to carry persons or                        tion or maintenance of such properly for
               property for a charge;                                  any reason, including prevention of injury to
     (3) Parking an "autou on, or on the ways next                     a person or damage to another's property;
         to, premises you own or ren~ provided the                 (2) Premises you sell, give away or abandon, if
         wauto" is not owned by or rented or loaned                    the "property damage" arises out of any
         to you or the insured;                                        part of those premises;
     {4) liability assumed under any "insured con-                 (3) Property loaned to you;
         tract• for the ownership, maintenance or                  (4) Personal properly in the care, custody or
         use of aircraft or watercraft; or                                control of the insured;




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     (5) That particular part of real property on                    This exclusion does not apply to the loss of use
         which you or any contractors or subcontrac-                 of other property arising out of sudden and ac-
         tors working direcHy or indirectly on your                  cidental physical injury to "your producr' or
         behalf are performing operations, if the                    •your work" after it has been put to its intended
         "property damage" arises out of !hose op-                   use.
         erations; or                                           n.   Recall Of Products, Work Or Impaired
     (6) That particular part of any property that                   Property
         must be restored, repaired or replaced be-                  Damages claimed for any loss, cost or ex-
         cause Nyour work• was incorrectly per-                      pense incurred by you or others for the loss of
         formed on ii.                                               use, withdrawal, recall, inspection, repair, re-
     Paragraphs (1 ), (3) and (4) of !his exclusion do               placement, adjustment, removal or disposal of:
     not apply to "property damage" (other than                      (1) "Your product";
     damage by fire) to premises, including the con-
     tents of such premises, rented to you for a pe-                 (2) "Your work"; or
     riod of 7 or fewer consecutive days. A separate                 (3) "Impaired property";
     limit of insurance applies to Damage To Prem-                   if such product, work, or property is withdrawn
     ises Rented To You as described in Section Ill                  or recalled from the market or from use by any
     - Limits Of Insurance.                                          person or organization because of a known or
     Paragraph (2) of this exclusion does not apply                  suspected defect, deficiency, inadequacy or
     if the premises are Nyour work" and were never                  dangerous condition in ii.
     occupied, rented or held for rental by you.                o. Personal And Advertising Injury
     Paragraphs (3), (4), (5) and (6) of this exclu-                 "Bodily injury" arising out of "personal and ad-
     sion do not apply to liability assumed under a                  vertising injury".
     sidetrack agreement.
                                                                p. Electronic Data
     Paragraph (6) of this exclusion does not apply
     lo "property damage" included in the "products-               Damages arising out of the loss of, loss of use
     completed operations hazard".                                 of, damage lo, corruption of, inability to access,
                                                                   or inability to manipulate electronic data.
   k. Damage To Your Product
                                                                   As used in this exclusion, electronic data
     "Property damage" to "your product" arising out               means information, facts or programs stored as
     of it or any part of it.                                      or on, created or used on, or transmitted to or
   I. Damage To Your Work                                          from computer software, including systems and
      "Properly damage" lo "your work" ariSing out of              applications software, hard or floppy disks, CD-
      it or any part of it and included in the "producls-          ROMS, tapes, drives, cells, data processing
      completed operations hazard".                                devices or any other media which are used
                                                                   wilh electronically controlled equipment.
      This exclusion does not apply if the damaged
      work or the work out of which the damage                  q. Distribution Of Material In Violation Of
      arises was performed on your behalf by a sub-                Statutes
      contractor.                                                    "Bodily injury" or "property damage" arising di-
  m. Damage To Impaired Property Or Property                         rectly or indirectly out of any action or omission
     Not Physically Injured                                          that violates or is alleged to violate:
     "Property damage" to "impaired property" or                     {1) The Telephone Consumer Protection Act
     property that has not been physically injured,                      (TCPA}, including any amendment of or
     arising out of.                                                     addition to such law; or
     {1) A defect, deficiency, inadequacy or danger-                 (2) The CAN-SPAM Act of 2003, including any
         ous condition in "your product" or "your                        amendment of or addilion to such law; or
         work"; or                                                   (3} Any statute, ordinance or regulation, other
     (2) A delay or failure by you or anyone acting                      than the TCPA or CAN-SPAM Act of 2003,
         on your behalf to perform a contract or                         that prohibits or limits the sending, transmil-
         agreement in accordance with its lerms.                         ttng, communicating or distribution of mate-
                                                                         rial or information.




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   Exclusions c. through n. do not apply to damage             c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-                 "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                     oral or written publication of material whose
   owner. A separate liml! of insurance applies lo this              first publication took place before the beginning
   coverage as described in Section Ill - Limits Of                  of the policy period.
   Insurance.
                                                               d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                     "Personal and advertising injury" arising out of
                                                                     a criminal act committed by or at the direction
1. Insuring Agreement                                                of the insured.
   a. We will pay those sums that the insured be-              e.    Contractual Liability
       comes legally obligated lo pay as damages
       because of •personal and advertising injury" to               "Personal and advertising injury" for which the
       which this insurance applies. We will have the                insured has assumed liability in a contract or
       right and duty to defend the insured against                  agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However,                    ability for damages that the insured would have
       we will have no duty to defend the insured                    in the absence of the contract or agreement.
       against any "su1I" seeking damages for "per-             f. Breach Of Contract
       sonal and advertising injury" lo which this in-             "Personal and advertising injury" arising out of
       surance does not apply. We may, al our discre-              a breach of contract, except an implied con-
       tion, investigate any offense and settle any                tract to use another's advertising idea in your
       claim or "suit" that may result. Bui:                       "advertisement".
      {1) The amount we will pay for damages Is                g. Quality Or Performance Of Goods - Failure
            limited as described in Section Ill - Limits          To Conform To Statements
            Of Insurance; and
                                                                     "Personal and advertising injury" arising out of
      {2) Our right and duly to defend end when we
                                                                     the failure of goods, products or services lo
            have used up the applicable limit of insur-              conform with any statement of quality or per-
            ance in the payment of judgments or set-                 formance made in your "advertisement".
            tlements under Coverages A or B or medi-
            cal expenses under Coverage C.                     h. Wrong Description Of Prices
       No other obligation or liability lo pay sums or              "Personal and advertising injury" arising out of
       perform acts or services is covered unless ex-               the wrong description of the price of goods,
       plicilly provided for under Supplementary Pay-               products or services slated in your "advertise-
       ments - Coverages A and B.                                   ment".
   b. This insurance applies to "personal and adver-            I. Infringement Of Copyright, Patent,
       tising injury" caused by an offense arising out               Trademark Or Trade Secret
       of your business but only if the offense was                 "Personal and advertising injury" arising out of
       committed in the "coverage territory" during the             the infringement of copyright, patent, trade-
       policy period.                                               mark, trade secret or other intellectual property
2. Exclusions                                                       rights. Under this exclusion, such other intellec-
                                                                    tual property rights do not include the use of
   This insurance does not apply to·                                another's advertising idea in your Nadvertise-
   a. Knowing Violation Of Rights Of AnothQr                        ment"
      "Personal and advertising injury" caused by or                However, this exclusion does not apply lo in-
      al the direction of the insured with the knowl-               fringement. in your "advertisement", of copy-
      edge that the act would violate the rights of an-             right, trade dress or slogan.
      other and would I nfticl "personal and advertis-         j. Insureds In Media And Internet Type
      ing inJury".                                                  Businesses
   b. Material Published With Knowledge Of                          "Personal and advertising injury• committed by
      Falsity
                                                                    an insured whose business Is:
      "Personal and advertising Injury" arising out of
                                                                    {1) Advertising,   broadcasting,    publishing or
      oral or written publication of material, if done by               telecasting;
      or at the direction of the insured with knowl-
      edge of its falsity.                                          (2) Designing or determining content of web-
                                                                        sites for others; or




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        (3) An Internet search, access, content or                  (3) Insurrection, rebellion, revolution, usurped
            service provider.                                           power, or action taken by governmental au-
        However, this exclusion does not apply to                       thority in hindering or defending against any
        Paragraphs 14.a., b. and c. of "personal and                    of these.
        advertising injury" under the Definitions Sec-            p. Distribution Of Material In Violation Of
        tion.                                                        Statutes
        For the purposes of this exclusion, the placing              "Personal and advertising injury" arising di-
        of frames, borders or links, or advertising, for             rectly or indirectly out of any action or omission
        you or others anywhere on the Internet, is not               that violates or is alleged lo violate.
        by itself, considered the business of advertis-             {1) The Telephone Consumer Protection Act
        ing, broadcasting, publishing or telecasting.                    (TCPA), including any amendment of or
   k. Electronic Chatrooms Or Bulletin Boards                           addition to such law; or
        "Personal and advertising injury" arising out of            (2) The CAN-SPAM Act of 2003, including any
        an electronic chatroom or bulletin board the in-                amendment of or addition to such law; or
        sured hosts, owns, or over which the insured                (3) Any statute, ordinance or regulation, other
        exercises control.                                              than the TCPA or CAN-SPAM Act of 2003,
   I. Unauthorized Use Of Another's Name Or                             that prohibits or limits the sending, transmit-
         Product                                                        ting, communicating or distribution of mate-
        "Personal and advertising injury" arising out of                rial or information.
        the unauthorized use of another's name or             COVERAGE C MEDICAL PAYMENTS
        product in your e-mail address, domain name           1. Insuring Agreement
        or metatag, or any other similar tactics to mis-
        lead another's potential customers                       a. We will pay medical expenses as described
                                                                     below for ''bodily injury" caused by an accident:
  m.    Pollution
                                                                    (1) On premises you own or rent;
        "Personal and advertising injury" arising out of
        the actual, a!leged or threatened discharge,                (2) On ways next to premises you own or rent;
        dispersal, seepage, migration, release or es-                   or
        cape of "pollutants" at any lime.                           (3) Because of your operations;
   n.    Pollution-Related                                           provided that:
        Any loss, cost or expense arising out of any:                    (a) The accident takes place in the "cover-
        (1) Request, demand, order or statutory or                            age territory• and during the policy pe-
            regulatory requirement that any insured or                        riod;
            others test for, monitor, clean up, remove,                  (b} The expenses are incurred and reported
            contain, treat, detoxify or neutralize, or in                     to us within one year of the dale of the
            any way respond to, or assess the effects                         accident; and
            of, "pollutants"; or                                         (c) The injured person submits to examina-
        {2) Claim or suit by or on behalf of a govern-                        tion, at our expense, by physicians of
            mental authority for damages because of                           our choice as often as we reasonably
            testing for, monitoring, cleaning up, remov-                      require.
            ing, containing, treating, detoxifying or neu-        b. We will make these payments regardless of
            tralizing, or in any way responding to, or                fault. These payments will not exceed the ap-
            assessing the effects of, "pollutants".                   plicable limit of insurance. We will pay reason-
  o. War                                                              able expenses for:
         "Personal and advertising injury", however                  (1) First aid administered at the time of an
         caused, arising, directly or indirectly, out of                  accident;
        {1) War, including undeclared or civil war;                 (2) Necessary medical, surgical, x-ray and
        (2) Warlike action by a military force, including                 dental services, including prosthetic de-
            action in hindering or defending against an                   vices; and
            actual or expected attack, by any govern-               {3) Necessary ambulance, hospital, profes-
            ment, sovereign or other authority using                      sional nursing and funeral services.
            military personnel or other agents; or




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2. Exclusions                                                  f, Prejudgment Interest awarded against the
   We will not pay expenses for "bodily injury":                  insured on that part of the judgment we pay. If
                                                                  we make an offer to pay the applicable limit of
   a. Any Insured                                                 insurance, we will not pay any prejudgment in-
      To any Insured, except "volunteer workers•.                 terest based on that period of time after the of-
   b. Hired Person
                                                                   fer.
                                                              g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf of
                                                                   that accrues after entry of the judgment and
      any insured or a tenant of any insured.
                                                                   before we have paid, offered to pay, or depos-
   c. Injury On Normally Occupied Premises                         ited in court the part of the judgment that is
      To a person injured on that part of premises                 within the applicable limit of insurance.
      you own or rent that the person normally occu-          These payments will not reduce the limits of insur-
      pies.                                                   ance.
   d. Workers Compensation And Similar Laws                2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of            indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"        to the "suitu, we will defend that indemnitee if all of
      are payable or must be provided under a work-           the following conditions are met:
      ers' compensation or disability benefits law or a       a. The "suit" against the indemnitee seeks dam-
      similar law.                                                 ages for which the insured has assumed the li-
   e. Athletics Activities                                         ability of the indemnitee in a contract or agree-
                                                                   ment that is an "insured contract";
      To a person injured while practicing, instructing
      or participating in any physical exercises or           b. This insurance applies to such liability as-
      games, sports, or athletic contests.                         sumed by the insured;
   f. Products-Completed Operations Hazard                    c. The obligation to defend, or the cost of the
                                                                   defense of, that indemnitee, has also been as-
      Included within the "products-completed opera-               sumed by the insured in the same "insured
      tions hazard".                                               contract";
   g. Coverage A Exclusions                                   d. The allegations in the "suit" and the information
      Excluded under Coverage A.                                   we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS- COVERAGES A                                no conflict appears to exist between the inter-
ANDB                                                               ests of the insured and the interests of the in-
                                                                   demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we        e. The lndemnitee and the insured ask us to
   defend.                                                         conduct and control the defense of that indem-
                                                                   nitee against such "suit" and agree that we can
   a. All expenses we Incur.                                       assign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                   and the indemnitee; and
      because of accidents or traffic law violations           f. The indemnitee:
      arising out of the use of any vehicle to which
      the Bodily Injury Liability Coverage applies. We            (1) Agrees in writing to.
      do not have to furnish these bonds.                             (a) Cooperate with us in the investigation,
                                                                                                       9

   c. The cost of bonds to release attachments, but                        settlement or defense of the Suit";
      only for bond amounts within the applicable                     {b) Immediately send us copies of any
      limit of insurance. We do not have to furnish                        demands, notices, summonses or legal
      these bonds.                                                         papers received in connection with the
   d. All reasonable expenses incurred by the in-                          "suit";
      sured al our request to assist us in the investi-               {c) Notify any other insurer whose coverage
      gation or defense of the claim or "suit", includ-                    is available to the indemnitee, and
      ing actual loss of earnings up to $250 a day                    (d) Cooperate with us with respect to coor-
      because of lime off from work.                                       dinating other applicable insurance
   e. All court costs taxed against the insured in the                     available to the indemnitee; and
      "suit" However, these payments do not include              (2) Provides us with written authorization to:
      attorneys' fees or attorneys' expenses taxed
      against the insured.                                            (a) Obtain records and other information
                                                                           related to the •suit"; and




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         (b) Conduct and control the defense of the         2. Each of the following is also an insured:
             inclemnitee in such "suitff.                      a. Your "volunteer workers• only while performing
   So long as the above conditions are met, attor-                duties related to the conduct of your business,
   neys' fees incurred by us in the defense of that in-           or your Hemployees", other than either your
   demnitee, necessary litigation expenses incurred               •executive officers• (if you are an organization
   by us and necessary litigation expenses incurred               other than a partnership, joint venture or limited
   by the indemnitee at our request will be paid as               liability company) or your managers (1f you are
   Supplementary Payments. Notwithstanding the                    a limited liabillty company). but only for acts
   provisions of Paragraph 2.b.(2) of Section I - Cov-            within the scope of their employment by you or
   erage A - Bodily Injury And Property Damage Li-                while performing duties related to the conduct
   ability, such payments will not be deemed to be                of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"              ployees" or "volunteer workersff are insureds
   and will no! reduce the limits of insurance.                   for:
   Our obligation to defend an insured's indemnitee              (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys' fees and necessary litiga-               injury":
   tion expenses as Supplementary Payments ends                      (a} To you, to your partners or members (If
   when we have used up the applicable limit of in-                       you are a partnership or joint venture),
   surance in the payment of judgments or sellle-                         to your members (if you are a limited li-
   ments or the conditions set forth above, or the                        ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                       while in the course of his or her em-
   above, are no longer met.                                              ployment or performing duties related to
SECTION II - WHO IS AN INSURED                                            the conduct of your business, or to your
1. If you are designated in !he Declarations as:                          other uvolunteer workers" while perform-
                                                                          ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                       business:
      eds, but only with respect lo the conduct of a
      business of which you are the sole owner.                     (b) To the spouse, child, parent, brother or
                                                                          sister of that co-"employee" or "volun-
   b. A partnership or joint venture, you are an In-                      teer worker" as a consequence of Para-
      sured. Your members, your partners, and their                       graph (1)(a) above;
      spouses are also insureds, but only with re-
      spect to the conduct of your business.                         (c) For which there is any obligation to
                                                                          share damages with or repay someone
   c. A limited liability company, you are an insured.                    else who must pay damages because of
      Your members are also insureds, but only with                       the Injury described in Paragraphs (1}(a)
      respect to the conduct of your business. Your                       or (b) above; or
      managers are insureds, but only with respect
      to their duties as your managers.                             (d) Arising out of his or her providing or
                                                                          failing to provide professional health
   d. An organization other than a partnership, joint                     care services.
      venture or limited liability company, you are an
      insured. Your "executive officers" and directors           {2) "Property damage" to property.
      are insureds, but only with respect to their du-              (a) Owned, occupied or used by,
      ties as your officers or directors. Your stock-               (b) Rented to, in the care, custody or con-
      holders are also insureds, but only with respect                    trol of, or over which physical control is
      to their liability as stockholders.                                 being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                  you, any of your "employees", "volunteer
      also insureds, but only with respect to their du-               workers", any partner or member (if you are
      ties as trustees.                                               a partnership or joint venture), or any mem-
                                                                      ber (if you are a limited liability company).




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    b. Any person (other than your "employee" or             3. The Products-Completed Operations Aggregate
       "volunteer worker''), or any organization while          Limit is the most we will pay under Coverage A for
       acting as your real estate manager.                      damages because of "bodily injuryu and "property
    c. Any person or organization having proper                 damage" included in the Hproducts-completed op-
       temporary custody of your property if you d,e,           erations hazard".
       but only:                                             4. Subject to Paragraph 2. above, the Personal and
      (1) With respect to liability arising out of the          Advertising Injury Limit is the most we will pay un-
          maintenance or use of that properly; and              der Coverage B for the sum of all damages be-
                                                                cause of all Hpersonal and advertising injuryH sus-
      (2) Until your legal representative has been              tained by any one person or organization.
          appointed.
                                                             5. Subject lo Paragraph 2. or 3. above, whichever
   d. Your legal representative if you die, but only            applies, the Each Occurrence Limit is the most we
      with respect to duties as such. That represen-            will pay for the sum of·
      tative will have all your rights and duties under
      this Coverage Part.                                       a.    Damages under Coverage A; and

3. Any organization you newly acquire or form, other            b. Medical expenses under Coverage C
   than a partnershlp, joint venture or limited liability       because of all "bodily injury• and "property dam-
   company, and over which you maintain ownership               age" arising out of any one "occurrence".
   or majority interest, will qualify as a Named In-         6. Subject to Paragraph 5. above, the Damage To
   sured if there is no other similar insurance avail-          Premises Rented To You Limit is the most we will
   able to that organization. However:                          pay under Coverage A for damages because of
   a. Coverage under this provision is afforded only            Hproperty damage" lo any one premises, while
      until the 90th day after you acquire or form the          rented to you, or in the case of damage by fire,
      organization or the end of the policy period,             while rented lo you or temporarily occupied by you
      whichever is earlier;                                     with permission of the owner.
   b. Coverage A does not apply to "bodily injury" or        7. Subject to Paragraph 5. above, the Medical Ex-
       •property damage" that occurred before you               pense Limit is the most we will pay under Cover-
       acquired or formed the organization; and                 age C for all medlcal expenses because of Hbodily
   c. Coverage B does not apply to "personal and                injury" sustained by any one person.
       advertising injury• arising out of an offense        The Limits of Insurance of this Coverage Part apply
       committed before you acquired or formed the          separately to each consecutive annual period and to
       organization.                                        any remaining period of less than 12 months, starting
No person or organization is an insured with respect        with the beginning of the policy period shown in the
to the conduct of any current or past partnership, joint    Declarations, unless the policy period is extended
venture or limited liability company that is not shown      after issuance for an additional period of less than 12
as a Named Insured in the Declarations.                     months. In that case, the additional period will be
                                                            deemed part of the last preceding period for purposes
SECTION Ill - LIMITS OF INSURANCE                           of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations        SECTION IV - COMMERCIAL GENERAL LIABILITY
   and the rules below fix the most we will pay re-         CONDITIONS
   gardless of the number of:
                                                            1. Bankruptcy
   a. Insureds,
                                                                Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                        insured's estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                 tions under this Coverage Part
      bringing HsuilsH.                                     2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will              Claim Or Suit
   pay tor the sum of:                                          a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                             as practicable of an "occurrenceff or an offense
                                                                     which may result in a claim. To the extent pos-
   b. Damages under Coverage A, except damages
      because of "bodily injury" or "property damage"                sible, noUce should include:
      included in the "products-completed operations                 {1) How, when and where the "occurrence" or
      hazardu; and                                                       offense took place;
   c. Damages under Coverage B.                                      (2) The names and addresses of any injured
                                                                         persons and witnesses; and




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      {3) The nature and location of any injury or         4. Other Insurance
          damage arising out of the "occurrence" or           If other valid and collectible Insurance is available
          offense.                                            to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against         ages A or B of this Coverage Part, our obligations
      any insured, you must.                                  are limited as follows:
      (1) Immediately record the specifics of the             a. Primary Insurance
          claim or "suit" and the date received; and             This insurance is primary except when Para-
      {2) Notify us as soon as practicable.                      graph b. below applies. If this insurance is pri-
       You must see to it that we receive written no-            mary, our obligations are not affected unless
      tice of the claim or "suit" as soon as practica-           any of the other insurance is also primary.
      ble.                                                       Then, we will share with all thal other insur-
                                                                 ance by the method described in Paragraph c.
   c. You and any other involved insured must:                   below.
      (1) Immediately send us copies of any de-               b. Excess Insurance
          mands, notices, summonses or legal pa-
          pers received in connection with the claim            {1) This insurance is excess over:
          or "suit";                                                {a) Any of the other insurance, whether
      (2) Authorize us to obtain records and other                       primary, excess, contingent or on any
          information;                                                   other basis:
      (3) Cooperate with us in the investigation or                      {i) That is Fire, Extended Coverage,
            settlement of the claim or defense against                       Builder's Risk, Installation Risk or
            the "suit"; and                                                  similar coverage for "your work";
      {4) Assist us, upon our request, in the en-                       (ii) That is Fire insurance for premises
            forcement of any nght against any person                         rented to you or temporarily occu-
            or organization which may be liable to the                       pied by you with permission of the
            insured because of injury or damage to                           owner;
            which this insurance may also apply.                       (iii) That is insurance purchased by you
   d. No insured will, except at that insured's own                          to cover your liability as a tenant for
       cost, voluntarily make a payment, assume any                          "property damage" to premises
       obligation, or incur any expense, other than for                      rented to you or temporarily occu-
       first aid, without our consent.                                       pied by you with permission of the
                                                                             owner; or
3. Legal Action Against Us
                                                                      (iv) If the loss arises out of the mainte-
   No person or organization has a right under this                          nance or use of aircraft, Mautos" or
   Coverage Part:                                                            watercraft to the extent not subject to
   a. To join us as a party or otherwise bring us into                       Exclusion g. of Section I - Coverage
       a "suit" asking for damages from an insured; or                       A - Bodily Injury And Properly Dam-
                                                                             age Liability.
   b. To sue us on this Coverage Part unless all of
      its terms have been fully complied with.                     {b) Any other primary insurance available to
                                                                         you covering liability for damages aris-
   A person or organization rnay sue us to recover on
                                                                         ing out of the premises or operations, or
   an agreed settlement or on a final judgment
                                                                         the products and completed operations,
   against an insured; but we will not be liable tor
   damages that are not payable under the terms of                       for which you have been added as an
                                                                         additional insured by attachment of an
   this Coverage Part or that are in excess of the ap-
   plicable limit of insurance. An agreed settlement                     endorsement.
   means a settlement and release of liability signed           (2) When this insurance is excess, we will have
   by us, the insured and the claimant or the claim-                no duly under Coverages A or B to defend
   ant's legal representative.                                      the insured against any "suit• if any other
                                                                    insurer has a duty to defend the insured
                                                                    against that "suit". If no other insurer de-
                                                                    fends, we will undertake to do so, but we
                                                                    will be entitled to the insured's rights
                                                                    against all those other insurers.




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      (3) When this Insurance is excess over other               c. We have issued this policy in reliance upon
          insurance, we will pay only our share of the              your representations.
          amount of the loss, if any, that exceeds the        7. Separation Of Insureds
          sum of:
                                                                 Except with respect to the Limits of Insurance, and
          {a) The total amount that all such other               any rights or duties specifically assigned in this
              insurance would pay for the loss in the            Coverage Part to the first Named Insured, this in-
              absence of this insurance; and                     surance applies:
          {b) The total of all deductible and self-              a. As if each Named Insured were the only
              insured amounts under all that other in-              Named Insured; and
              surance.
                                                                 b. Separately to each insured against whom claim
      {4) We will share the remaining loss, if any,                 is made or "suit" is brought.
          with any other insurance that is not de-
          scribed in this Excess Insurance provision          8. Transfer Of Rights Of Recovery Against Others
          and was not bought specifically to apply in            To Us
          excess of the Limits of Insurance shown in             If !he insured has rights to recover all or part of
          the Declarations of this Coverage Part.                any payment we have made under this Coverage
   c. Method Of Sharing                                          Part, those rights are transferred to us. The in-
                                                                 sured mus! do nothing after loss to impair them. At
       If all of the other Insurance permits contribution        our request, the insured will bring "suit" or transfer
       by equal shares, we will follow this method               those rights lo us and help us enforce them.
       also. Under this approach each insurer con-
       tributes equal amounts until it has paid its ap-       9. When We Do Not Renew
       plicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
       remains, whichever comes first.                           will mail or deliver to the first Named Insured
      If any of the other Insurance does not permit              shown in the Declarations written notice of the
      contribution by equal shares, we will contribute           nonrenewal not less than 30 days before the expi-
      by limits. Under this method, each insurer's               ration dale.
      share is based on the ratio of its applicable              If notice is mailed, proof of mailing will be sufficient
      limit of insurance to the total applicable limits of       proof of notice.
      insurance of all insurers.                             SECTION V - DEFINITIONS
5. Premium Audit                                              1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Cover-               or published to the general public or specific mar-
       age Part in accordance with our rules and                 ket segments about your goods, products or ser-
       rates.                                                    vices for the purpose of attracting customers or
   b. Premium shown in this Coverage Part as ad-                 supporters. For the purposes of this definition.
      vance premium is a deposit premium only. At                a. Notices that are published include material
      the close of each audit period we will compute                placed on the Internet or on similar electronic
      the earned premium for that period and send                   means of communication, and
      notice lo the first Named Insured. The due date
                                                                 b. Regarding web-sites, only that part of a web-
      tor audit and retrospective premiums is the                   site that is about your goods, products or ser-
      date shown as the due date on the bill. If the
                                                                    vices for the purposes of attracting customers
      sum of the advance and audit premiums paid                    or supporters is considered an advertisement.
      for the policy period is greater than the earned
      premium, we will return the excess to the first        2. "Auto" means.
      Named Insured.                                             a. A land motor vehicle, trailer or semitrailer de-
   c. The first Named Insured must keep records of                  signed for travel on public roads, including any
      the information we need for premium computa-                  attached machinery or equipment; or
      tion. and send us copies at such times as we              b. Any other land vehicle that is subject to a com-
      may request.                                                 pulsory or financial responsibility law or other
6. Representations                                                 motor vehicle insurance law in the stale where
                                                                   it is licensed or principally garaged.
   By accepting this policy, you agree:
                                                                However, "auto" does not include "mobile equip-
   a. The statements in the Declarations are accu-              ment".
      rate and complete;
   b. Those statements are based upon representa-
      tions you made to us; and



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3. "Bodily injury" means bodily injury, sickness or            9. "Insured contract" means:
   disease sustained by a person, including death re-             a. A contract for a lease of premises. However,
   sulting from any of these at any time.                             that portion of the contract for a lease of prem-
4. "Coverage territort means:                                         ises that indemnifies any person or organiza-
     a. The United States of America (including its                   tion for damage by fire to premises while
         territories and possessions), Puerto Rico and                rented to you or temporarily occupied by you
         Canada;                                                      with permission of the owner is not an "insured
                                                                      contract";
     b. International waters or airspace, but only if the
        injury or damage occurs in the course of travel           b. A sidetrack agreement;
        or transportation between any places included             c. Any easement or license agreement, except in
        in Paragraph a. above, or                                     connection with construclion or demolition op-
     c. All other parts of the world if the injury or dam-            erations on or within 50 feet of a railroad;
         age arises out of:                                       d, An obligation, as required by ordinance, to
        (1) Goods or products made or sold by you in                  indemnify a municipality, except in connection
            the territory described in Paragraph a.                   with work for a municipality;
            above;                                                e. An elevator maintenance agreement;
         {2) The activities of a person whose home is in           f. That part of any other contract or agreement
              the territory described in Paragraph a.                 pertaining to your business (including an in-
              above, but ,s away for a short time on your             demnification of a municipality in connection
              business; or                                            with work performed for a municipality) under
         (3) "Personal and advertising injury" offenses               which you assume the tort liability of another
              that take place through the Internet or simi-           party to pay for "bodily injury" or "property dam-
              lar electronic means of communication                   agee to a third person or organization. Tort li-
                                                                      ability means a liability that would be imposed
     provided the insured's responsibility to pay dam-                by law in the absence of any contract or
     ages is determined in a "suit" on the merits, in the             agreement.
     territory described in Paragraph a. above or in a
     settlement we agree to.                                          Paragraph f. does not include that par! of any
                                                                      contract or agreement:
5.   "Employee" includes a "leased worker". "Em-
     ployee• does not include a "temporary worker".                  (1) Thal indemnifies a railroad for "bodily injury"
                                                                           or eproperty damage" arising out of con-
6.   "Executive officer" means a person holding any of                     struction or demolition operations, within 50
     the officer positions created by your charter, con-                  feet of any railroad properly and affecting
     stitution, by-laws or any other similar governing                     any railroad bridge or trestle, tracks, road-
     document.                                                             beds, tunnel, underpass or crossing;
7.   "Hostile fire" means one which becomes uncon-                   (2) Thal indemnifies an architect, engineer or
     trollable or breaks out from where it was intended                   suNeyor for injury or damage arising out of:
     to be.
                                                                         {a) Preparing, approving, or failing to pre-
8.   "Impaired property• means tangible property, other                        pare or approve, maps, shop drawings,
     than "your product" or "your work", thal cannot be                        opinions, reports, suNeys, field orders,
     used or is less useful because:                                           change orders or drawings and specifi-
     a. II incorporates "your product" or -your work"                          cations; or
          that is known or thought to be defective, defi-                (b} Giving directions or instructions, or
          cient, inadequate or dangerous; or                                  failing to give them, if that Is the primary
     b. You have failed to fulfill the terms of a contract                     cause of the injury or damage; or
          or agreement;                                              (3) Under which the insured, if an architect,
     if such properly can be restored lo use by the re-                   engineer or surveyor, assumes liability for
     pair, replacement, adJustment or removal of "your                    an injury or damage arising out of the in-
     product" or "your work" or your fulfilling the terms                 sured's rendering or failure to render pro-
     of the contract or agreement.                                        fessional services, including those listed in
                                                                          {2) above and supervisory, inspection, ar-
                                                                          chitectural or engineering activities.




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10. "leased worker" means a person leased to you by                 However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                 lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties               ment are not "mobile equipment" but will be
    related lo lhe conduct of your business. "Leased                considered "autos":
    worker" does not include a "temporary worker".                 (1) Equipment designed primarily for;
11. "Loading or unloading" means the handling of                         (a) Snow removal;
    property;
                                                                         (b) Road maintenance, but not construction
   a. After it is moved from the place where it is                            or resurfacing; or
      accepted for movement into or onto an aircraft,
      watercraft or "auto";                                              (c) Street cleaning;
   b. While il is in or on an aircraft, watercraft or                (2) Cherry pickers and similar devices mounted
      "auto"; or                                                          on automobile or truck chassis and used to
                                                                          raise or lower workers; and
   c. While it is being moved from an aircraft, water-
      craft or "auto" to the place where it is finally de-           {3) Air compressors, pumps and generators,
      livered;                                                            including spraying, welding, building clean-
                                                                          ing, geophysical exploration, lighting and
   but "loading or unloading" does not include the                        well servicing equipment.
   movement of property by means of a mechanical
   device, other than a hand truck, that is not at-              However, "mobile equipment" does not include
   tached to the aircraft, watercraft or "auto".                 any land vehicles that are subject to a compulsory
                                                                 or financial responsibility law or other motor vehi-
12. "Mobile equipment" means any of the following                cle insurance law in the state where it is licensed
    types of land vehicles, including any allached ma-           or principally garaged. Land vehicles subject lo a
    chinery or equipment:                                        compulsory or financial responsibility law or other
   a. Bulldozers, farm machinery, forklifts and other            motor vehicle insurance law are considered
      vehicles designed for use principally off public           "autos".
      roads;                                                 13."0ccurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to           tinuous or repeated exposure to substantially the
      premises you own or rent;                                  same general harmful conditions.
   c. Vehicles that travel on crawler treads;                14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-             including consequential "bodily injury", arising out
      tained primarily to provide mobility to perma-             of one or more of the following offenses:
      nently mounted.                                            a. False arrest, detention or imprisonment;
     (1) Power cranes, shovels, loaders, diggers or              b. Malicious prosecution;
         drills; or                                              c. The wrongful eviction from, wrongful entry into,
     (2) Road construction or resurfacing equipment                   or invasion of the right of private occupancy of
         such as graders, scrapers or rollers;                        a room, dwelling or premises that a person oc-
   e. Vehicles not described in Paragraph a., b., c.                  cupies, committed by or on behalf of its owner,
      or d. above that are not self-propelled and are                 landlord or lessor;
      maintained primarily to provide mobility to per-           d. Oral or written publication, in any manner, of
      manently attached equipment of the following                    material that slanders or libels a person or or-
      types:                                                          ganization or disparages a person's or organi-
     (1} Air compressors, pumps and generators,                       zation's goods, products or services;
         including spraying, welding, building clean-            e. Oral or written publication, in any manner, of
         ing, geophysical exploration, lighting and                   material that violates a person's right of pri-
         well servicing equipment; or                                 vacy;
      (2) Cherry pickers and similar devices used to              f. The use of another's advertising idea in your
          raise or lower workers,                                     "advertisement'\ or
   f. Vehicles not described in Paragraph a., b., c.            g. Infringing upon another's copyright, trade dress
       or d. above maintained primarily for purposes                  or slogan in your "advertisement".
       other than the transportation of persons or
       cargo.




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15.wPollutantsu mean any solid, liquid, gaseous or                b. Loss of use of tangible property that is not
   thermal irritant or contaminant, including smoke,                 physically injured. All such loss of use shall be
   vapor. soot, fumes, acids, alkalis, chemicals and                 deemed to occur at the time of the "occur-
   waste. Waste includes materials to be recycled,                   rence• that caused It.
   reconditioned or reclaimed.                                    For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                       is not tangible properly.
   a.    Includes all "bodily injury" and "properly dam-          As used in this definition, electronic data means
         age" occurring away from premises you own or             information, facts or programs stored as or on,
         rent and arising out of "your product" or "your          created or used on, or transmitted to or from com-
         work" except:                                            puter software. including systems and applications
        (1) Products that are still in your physical pos-         software, hard or floppy disks, CD-ROMS. tapes,
            session; or                                           drives, cells, data processing devices or any other
                                                                  media which are used with electronlcally controlled
        (2) Work that has not yet been completed or               equipment.
            abandoned. However, uyour worku will be
            deemed completed at the earliest of the fol-       18."Suit" means a civil proceeding in which damages
            lowing times.                                         because of "bodily injury•, "properly damage" or
                                                                  "personal and advertising injury'' to which this in-
           (a) When all of the work called for in your.           surance applies are alleged. "Suit.. includes.
               contract has been completed.
                                                                  a. An arbitralion proceeding in which such dam-
           (b) When all of the work to be done at the                ages are claimed and to which !he insured
               job site has been completed if your con-              must submit or does submit with our consent,
               tract calls for work at more than one job             or
               site.
                                                                  b. Any other alternative dispute resolution pro-
           (c) When that part of the work done at a job              ceeding in which such damages are claimed
               site has been put to its intended use by              and to which the insured submits with our con-
               any person or organization other than                 sent.
               another contractor or subcontractor
               working on the same project.                   19.''Temporary worker• means a person who is fur-
                                                                 nished to you to substitute for a permanent "em-
            Work that may need service. maintenance,             ployee" on leave or to meet seasonal or short-term
            correction, repair or replacement, but which         workload conditions.
            is otherwise complete, will be treated as
            completed.                                        20. "Volunteer worker• means a person who is not
                                                                  your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property               and acts at the direction of and within the scope of
      damage" arising out of:                                     duties determined by you, and is no! paid a fee,
        (1) The transportation of property, unless the            salary or other compensation by you or anyone
            injury or damage arises out of a condition in         else for their work performed for you.
            or on a vehicle not owned or operated by          21."Your product":
            you, and that condition was created by the
            "loading or unloading• of that vehicle by any         a. Means:
            insured;                                                (1) Any goods or products. other than real
        (2) The existence of tools, uninstalled equip-                  property, manufactured, sold, handled, dis-
            ment or abandoned or unused materials; or                   tributed or disposed of by:
        (3) Products or operations for which the classi-                (a) You;
            fication, listed in the Declarations or in a                (b) Others trading under your name, or
            policy schedule, stales that producls-                      (c) A person or organization whose busi-
            compleled operations are subject to the                         ness or assets you have acquired; and
            General Aggregate Limit.
                                                                    (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                            parls or equipment furnished in connection
   a.   Physical injury lo tangible property, including                 with such goods or products.
        all resulting loss of use of that property. All           b. Includes:
        such loss of use shall be deemed to occur at
        the lime of the physical injury that caused it; or          (1) Warranties or representations made at any
                                                                        time with respect to the fitness, quality, du-
                                                                        rability, performance or use of "your prod-
                                                                        uct"; and




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      (2) The providing of or failure to provide warn-
          ings or instructions.
   c. Does not include vending machines or other
       property rented to or located for the use of oth-
       ers but not sold.
22. "Your work":
   a. Means:
     (1) Work or operations performed by you or on
          your behalf; and
     (2) Materials, parts or equipment furnished in
          connection with such work or operations.
   b. Includes:
     (1) Warranties or representations made at any
          time with respect to the fitness, quality, du-
          rability, performance or use of ffyour workff,
          and
     (2) The providing of or failure to provide warn-
          ings or instructions.




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                          SENECA SPECIALTY INSURANCE COMPANY

           TlllS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                               CAREFULLY.
           MISCELLANEOUS EXCLUSIONS ENDORSEMENT
 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE PART
 PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

 1.       SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
      LIABILITY, 2. Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY,
      2. Exclusions are amended and the following are added:
         USL&H, JONES ACT and MARITIME EXCLUSION
         This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury"
         arising out of or resulting from:
        (1) operations over· navigable waters or offshore including but not limited to drilling and production platforms,
            pipelines, and vessels; or
        (2) direct or indirect actions including but not limited to subrogation involving U.S. Longshore & Harbor
            Workers Compensation Act (USL&H), Merchant Marine Act ("Jones Act") or other maritime laws and any
             amendments to those laws.

         EXCLUSION · PROFESSIONAL SERVICES
         This insurance does not apply to ''bodily injury", "property damage" or "personal and advertising injury" arising
         out of or resulting from the rendering or failure to render any ''professional service" except by endorsement to
         this policy and then only to the extent of such endorsement.



             ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                          SENECA SPECIALTY INSURANCE COMPANY

            TffiS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                CAREFULLY.

                      HAZARDOUS MATERIALS EXCLUSION
 This endorsement modifies insurance provided under the following:
 COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. SECTION I- COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
    LIABILITY, 2. Exclusions, f. and SECTION I - COVERAGF,S, COVERAGE B PERSONAL AND
    ADVERTISING INJURY LIABILITY, 2. Exclusions, n. and m. are replaced by the following:
     This insw·ance does not apply to:
     Hazardous Materials
     (1) "Bodily injwy", "property damage" or "personal and advertising injury" which would not have occurred in
          whole or part but for the actual, alleged or threatened discharge, dispersal, seepage, migration, release or
          escape of "hazardous materials" at any time.
     (2) Any loss, cost or expense arising out of any:
           (a) Request, demand, order or statutory orregulat01y requirement that any insured 01· others test for, monitor,
               clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects
               of 11 hazardous materials"; or
           (b) Claim or "suit" by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
               responding to, or assessing the effects of "hazardous materials".
     (3) Any obligations to share damages with or indemnify another party whom must pay damages because of
         injwy or damage relating to "ha7.ardous materials".
     (4)        Any supervision, instructions, recommendations, warnings or advice given or which should have been
            given in connection with paragraphs (1), (2), or (3) above.
   TI1is exclusion applies whether or not such "hazardous material(s)" has any function in your business, operations,
   premises, site or location.

B. SECTION V - DEFINITIONS is amended and the following added:
     "Hazardous materials11 means "pollutants", lead, asbestos, silica and materials containi11g them.

             ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                                                     IL 00 21 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               NUCLEAR ENERGY LIABILITY EXCLUSION
                         ENDORSEMENT
                                                   (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                               C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"            or "property damage" resulting from "hazard-
       or "property damage":                                      ous properties" of "nuclear material", if:
      (1) With respect to which an "insured" under               {1) The "nuclear material" {a) is at any "nuclear
           the policy is also an insured under a nu-                 facility" owned by, or operated by or on be-
           clear energy liability policy issued by Nu-               half of, an "insured" or {b) has been dis-
           clear Energy Liability Insurance Associa-                 charged or dispersed therefrom;
           tion, Mutual Atomic Energy Liability                   (2) The "nuclear material" is contained in
           Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
           tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
           or would be an insured under any such pol-                 transported or disposed of, by or on behalf
           icy but for its termination upon exhaustion                of an "insured"; or
           of its limit of liability; or                          (3) The "bodily injury" or "property damage"
      (2) Resulting from the "hazardous properties"                   arises out of the furnishing by an "insured"
           of "nuclear materialu and with respect to                  of services, materials, parts or equipment in
           which {a) any person or organization is re-                connection with the planning, construction,
           quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
           suant to the Atomic Energy Act of 1954, or                 clear facility". but if such facility iS located
           any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
           sured" is, or had this policy not been Issued              tories or possessions or Canada, this ex-
           would be, entilled to Indemnity from the                   clusion (3) applies only to "property dam-
           United States of America, or any agency                    age" to such "nuclear facility'' and any
           thereof, under any agreement entered into                  property thereat.
           by the United States of America, or any          2. As used in this endorsement.
           agency thereof, with any person or organi-
           zation.                                             "Hazardous properties" includes radioactive, toxic
                                                               or explosive properties.
   B. Under any Medical Payments coverage, to
       expenses incurred with respect to "bodily in-           "Nuclear material" means "source malerial", "spe-
      jury" resulting from the "hazardous properties"          cial nuclear material" or "by-product material".
       of "nuclear material" and arising out of the op-
       eration of a "nuclear facility" by any person or
       organization.




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   "Source material", ..special nuclear material", and           (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any lime the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the Rinsured" at the premises where such
   ponent, solid or liquid, which has been used or ex-               equipment or device Is located consists of
   posed to radiation in a "nuclear reactor".                        or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   'Waste" means any waste material {a) containing                   thereof, or more than 250 grams of uranium
   "by-product material'' other than the tailings or                 235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed             (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)              or place prepared or used for the storage or
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-         is located, all operations conducted on such site
   clear facililt.                                            and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
     (b) Any equipment or device designed or used             mass of fissionable material.
         for {1) separating the isotopes of uranium or
         plutonium, (2) processing or utilizing "spent        "Property damage" includes all forms of radioac-
         fuel", or (3) handling, processing or packag-        tive contamination of property.
         ing "waste".




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21671204

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following;

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion ls added to Paragraph 2.          B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - Coverage B - Per,
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
      This insurance does not apply to.                            This insurance does not apply to.
      Fungi Or Bacteria                                            Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which                a. "Personal and advertising injury" which
         would not have occurred, in whole or in part,                would not have taken place, in whole or in
         but tor !he actual, alleged or threatened in-                part, but for the actual, alleged or threat-
         halation of, ingestion of, contact with, expo-               ened inhalation of, ingestion of, contact
         sure to, existence of, or presence of, any                   with, exposure to, existence of, or presence
         "fungiK or bacteria on or within a building or               of any "fungi" or bacteria on or within a
         structure, including its contents, regardless                building or structure, including Its contents,
         of whether any other cause, event, material                  regardless of whether any other cause,
         or product contributed concurrently or in any                event, material or product contributed con-
         sequence to such injury or damage.                           currently or in any sequence to such Injury.
      b. Any loss, cost or expenses arising out of the             b. Any loss, cost or expense arising out of the
          abating, testing for, monitoring, cleaning up,              abating, testing for, monitoring, cleaning up,
          removing, containing, treating, detoxifying,                removing, containing, treating, detoxifying,
          neutralizing, remediating or disposing of, or               neutralizing. remediating or disposing of, or
          in any way responding to, or assessing the                  in any way responding to, or assessing the
          effects of, "fungi" or bacteria, by any Insured             effects of, "fungi" or bacteria, by any insured
          or by any other person or entity.                           or by any other person or entity.
      This exclusion does not apply to any "fungi" or       C. The following definition Is added to the Definitions
      bacteria that are, are on, or are contained in, a        Section:
      good or product intended for bodily consump-              "Fungi" means any type or form of fungus, includ-
      tion.                                                     ing mold or mildew and any mycotoxins, spores,
                                                                scents or byproducts produced or released by
                                                                fungi.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 214712 07

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion ls added to Paragraph 2.,       B. The following exclusion is added lo Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily              Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   This insurance does not apply to:                          This insurance does not apply to.
   "Bodily injuryN to:                                        "Personal and advertising injury" to:
  (1) A person arising out of any;                           (1) A person arising out of any:
     {a) Refusal to employ that person;                          (a) Refusal to employ that person;
     (b) Termination of that person's employment;               (b) Termination of that person's employment;
          or                                                         or
     (c) Employment-related practices, policies,                {c) Employment-related      practices, policies,
         acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
         tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
         defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
         crimination or malicious prosecution di-                   crimination or malicious prosecution di-
         rected at that person, or                                  rected at that person; or
  {2) The spouse, child, parent, brother or sister of        {2) The spouse, child, parent, brother or sister of
      that person as a consequence of ubodily injury"            that person as a consequence of "personal and
      to that person at whom any of the employment-              advertising injury" to that person at whom any
      related practices described in Paragraphs {a),             of the employment-related practices described
      {b), or {c) above is directed.                             in Paragraphs (a), (b}, or (c) above is directed.
   This exclusion applies:                                    This exclusion applies:
  (1) Whether the injury-causing event described in          (1} Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before             Paragraphs {a), (b) or (c) above occurs before
      employment, during employment or after em-                 employment, during employment or after em-
      ployment of that person;                                   ployment of that person;
  (2) Whether the insured may be liable as an em-            (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                       ployer or in any other capacity; and
  (3) To any obligation to share damages with or             (3) To any obligation to share damages with or
      repay someone else who must pay damages                    repay someone else who must pay damages
      because of the injury.                                     because of the injury.




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                                                                         COMMERCIAL GENERAL LIABILITY


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION - INTERCOMPANY PRODUCTS SUITS
This endorsement modtfies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

This insurance does not apply to any claim for damages by any Named Insured against another Named Insured
because of "bodily Injury" or "property damage" arising out of "your products" and Included within the •products-
completed operations hazard. u




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                              CG 21 391093

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   CONTRACTUAL LIABILITY LIMITATION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The definition of "insured contract" in the DEFINI-        b. A sidetrack agreement;
TIONS Section ls replaced by the following:                c. Any easement or license agreement. except in
"Insured contract• means:                                     connection with construction or demolition opera-
a. A contract for a lease of premises. However, that          tions on or within 50 feet of a railroad;
   portion of the contract for a lease of premises that   d. An obligation, as required by ordinance, to in-
   indemnifies any person or organization for dam-           demnify a municipality, except In connection with
   age by fire to premises while rented to you or            work for a muni cipallty;
   temporarily occupied by you with permission of          e. An elevator maintenance agreement.
   the owner Is not an "insured contract";




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                                 SENECA SPECIALTY INSURANCE COMPANY

 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CONTRACTORS COVERAGE LIMITATIONS AND AUDIT
This endorsement modifies insurance provided undel' the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPbRATIONS LIABILITY COVERAGE PART


A. SECTION I -     COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 2. Exclusions, e. Employer's Liability, and SECTION I - COVERAGES,
   PRODGCTS/COMPLETED OPERATIONS, BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 2. Exclusions, e. Employer's Liability, are deleted and replaced with the following:
   This insurance does not apply to:
   e.         Employer's Liability
        "Bodily injw-y'' to:
        (1)         An "employee" or "temporary worker" of any insured arising out of and in the cow·se of:
              (a)       Erq:iloyment by any insured; or
              (b)       Perfot·ming duties related to the conduct of any insured's business;
        (2)      A fellow "employee'' or "temporary worker" of any insured arising out of and in the course of such
              employment when the insured is an "executive officer" of such employer; or
        {3)       The spouse, child, parent, brother or sister of that "employee" or "temporary worker" as a consequence
              of Paragraph (1) above.
              This exclusion applies:
              (1) Whether an insured may be liable as an employer or in any other capacity;
              (2) To any obligation to share damages with or repay someone else who must pay damages because of the
                    injury; or
              (3) To any liability assumed under any contract or agreement.
B. SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, 5. Premium Audit, subparagraph
   c, is deleted and replaced with the following:

   c.       The fu'st Named lnsmed must keep records of the information we treed for premium computation, and
        send us copies at such times as we may request. In addition:
        (1)       You shall provide us upon our request copies of Certificates of Insurance that you shall require and
              have obtained from your subcontractors before any work is performed on your behalf. You shall maintain
              copies of these Certificates during and for up to 5 years after the term of such work.
        (2)       The Certificate must evidence coverage and Limits of Insurance equal to or greater than the coverages
              and Limits of Insurance provided by this policy in force for the term of the work performed for you, unless
              other terms and limits are shown below:
              Limits of Insurance:
              Coverage equal to the coverages provided by this policy, and
                         General Aggregate Limit (other than                    $
                         Products/Completed Operations)
                         Products/Completed Operations Aggregate Limit          $
                         Each Occw-rence Limit                                  $

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          (3)       We will adjust the annual premium charged you and apply a rate of $15 per $1,000 of the "total cost"
                of all work you subcontract as the basis for the additional premium for any subcontractor:
                (a)       whose Certificate of lnsmance shows Limits of Insurance or coverage less than that requfred by
                      us; or
                (b)      for whom you do not have a Certificate.
          (4)       Any premium charged shall be paid to us by the first Named Insured within 30 days of the date of
                invoice.
C.   SECTION V - DEFINITIONS is amended and the following added:
     "Total cost" means the combined cost of:
     a.         all labor; plus
     b.         materials and equipment furnished, used or delivered for use in the execution of the work performed; and
     c.         overhead and profit including fees and commissions.
D. SECTION V - DEFINITIONS, 19. of the COMMERCIAL GENERAL LIABILITY COVERAGE FORM,
   and SECTION V - DEFINITIONS, 15. of the PRODUCTS/COMPLETED OPERATIONS LIABILITY
   COVERAGE FORM are deleted and replaced with the following:
     "Temporary worker" means any person who is:
     a.   furnished to you to substitute for a permanent "employee";
     b.   a short-term worker; or
     c.   not an "employee'' or "volunteer worker".


                ALL OTHER TERMS Al'tl) CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                          SENECA SPECIALTY INSURANCE COMPANY

          Tms ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                            CAREFULLY.

     CERTIFIED ACTS OF TERRORISM AND OTHER ACTS OF
                 TERRORISM EXCLUSION
This endorsement modifies insurance provided under the following:

        COMMERClAL GENERAL LIABlLITY COVERAGE PART
        LIQUOR LIABILITY COVERAGE PART
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABlLITY COVERAGE PART
        RAILROAD PROTECTlVE LIABILITY COVERAGE PART


A.   The following exclusion is added:
        This insurance does not apply to:
        TERRORISM AND PUNITIVE DAMAGES
             "Any injury or damage" arising, directly or indirectly, out of:
             (1) ''Certified acts of terrorism" or "other acts of ten-olism", including any action taken in hindering or
                 defending against an actual or expected incident of "certified acts of te11·orism 11 or "other acts of
                 ten·orism0 ; or
            (2) Any act of terrorism:
                 (a) that involves the use, release or escape of nuclear matetials, or directly or indirectly results in
                     nuclear reaction or radiation or radioactive contamination; or
                 (b) that is earned out by means of the dispersal or application of pathogenic or poisonous biological
                       or chemical materials; or
                 (c)      in which pathogenic or poisonous biological or chemical materials are released, and it appears
                       that one purpose of the terrorism was to release such materials;
            regardless of any other cause or event that contributes concurrently or in any sequence to the injury or
            damage in (1) or (2) above; including
            (3) Damages arising, directly or indirectly, out of (1) or (2) above that are awarded as punitive damages.
B. Exclusion h. under Paragraph 2. Exclusions of SECTION I - COVERAGE C MEDICAL PAYMENTS does
   not apply.
C. The following definitions are added to the DEFI1'i1TI0NS Section:.
     For the purposes of tlris endorsement, "any injury or damage" means any injury or damage covered under
     any Coverage Part to which this endorsement is applicable, and includes but is not limited to "bodily injury",
     "property damage", "personal and advertising injury", "injury" or "environmental damage" as may be defined in
     any applicable Coverage Part.



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    "Certified act of teirnrism" means au act that is certified by the Secretary of the Treasury, in concurrence with the
    Secretary of State and the Attorney General of the United States, to be an act of te1rnrism pursuant to the federal
    Te1rnrism Risk Insurance Act of 2002. The federal Terrorism Risk Insurance Act of 2002 sets forth the following
    criteria for a "ce1tified act of terrorism":
         n.    The act resulted in aggregate losses in excess of $5 million; and
          b.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
               by an individual or individuals acting on behalf of any foreign person or foreign interest, as pa1t of an
               effort to coerce the civilian population of the United States or to influence the policy or affect the conduct
               of the United States Government by coercion.
    "Other act ofteirnrism" means a violent act or an act that is dangerous to human life, property or infrastructure that
    is committed by an individual or individuals and that appears to be part of an effort to coerce a civilian population
    or to influence tl1e policy or affect the conduct of any government by coe1'Cion, and the act is not cettified as a
    teil'orist act pursuant to the federal Te1TOrism Risk lnsmance Act of 2002. Multiple incidents of an "other act of
    ten·orism" which occur within a seventy-two hour period and appear to be carried out in concert or to have a related
    purpose or common leadership shall be considered to be one incident
D. In the event of an act of tetTOrism, a "certified act of teil'orism II or an "other act of tefforism" that is not subject to
   this exclusion, cove.rage does not apply to any loss or damage that is otheiwise excluded under this Coverage Part.


         ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                SENECA SPECIALTY INSURANCE CO:MPANY

   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFL'l.,LY.

                                   LIMITATION OF COVERAGE
                                              TO
                                     BUSINESS DESCRIPTION

Tills endorsement modilles msurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                       SCHEDULE
BUSINESS DESCRIPTION: Carpentry Contractor


A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 1. hisurhtg Agreement, b. 1s amended and the following added:
    (4)         Tl1e "bodily lllJuty" or "property damage" ts caused by or results from the business described in
          the Schedule.

B. SECTION 1- COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY
   LIABILITY, 1. Iusming Agreement, b. is amended and the followmg added:
   This insurance applies to "personal and advertising injury" caused by an offense in the course of the
   busmess described ill the Schedule.



              ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN USCHANGED.




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                      SENECA SPECIALTY INSURANCE COMPANY, INC

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                            CAREFULLY.

                         PENNSYLVAt~IA CHANGES-
                      CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:
OUTPUT POLICY COVERAGE PART
COMMERCIAL AUTOMOBILE COVERAGE PART
COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARlNE COVERAGE PART
COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
COMMERCIAL PROPERTY COVERAGE PART
CRIME AND flDELITY COVERAGE PART
EMPLOYMENT~RELATED PRACTICES LIABILITY COVERAGE PART
EXCESS LIABILITY POLICY
FARM COVERAGE PART
FARM UMBRELLA LIABILITY POLICY
LIQUOR LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
PROFESSIONAL LIABILITY COVERAGE PART

A. The Cancellation Common Policy Condition is replaced by the following:
   CANCELLATION
   1. TI1e first Named Insw·ed shown in the Declarations may cancel this policy by writing or giving notice of
      cancellation.
   2. Cnncellntion Of Policies In Effect For Less Than 60 Days
      We may ca11cel this policy by mailing or delivering to the first Named Insmed written notice of cancellation at
      least 30 days before the effective date of cancellation.
   3. Cancellation Of Policies In Effect For 60 Days Or More
      If this policy bas been in effect for 60 days or more or if this policy is a renewal of a policy we issued, we may
      cancel this policy only fo1· one or more of the following reasons:
      a. You have made a material misrepresentation which affects the insurability of the risk. Notice of cancellation
         will be mailed or delivered at least 15 days before the effective date of cancellation,
      b. You have failed to pay a premium when due, whether the premium is payable directly to us or our agents or
         indirectly under a premium finance plan or extension of credit. Notice of cancellation will be mailed at least
         15 days before the effective date of cancellation.
      c. A condition, factor or loss expe1ience material to insurability has changed substantially or a substantial
         condition, factor or loss experience material to insurability has become known during the policy period.
         Notice of cancellatmn will be mailed or delivered at least 60 days before the effective date of cancellation.
      d. Loss of reinsmance or a substantial decrease in reinsurance has occull'ed, which loss or decrease, at the time
         of cancellation, shall be certified to l11e Insurance Commissioner as directly affecting in-force policies.
         Notice of cancellation will be mailed or delivered at least 60 days before the effective date of cancellation.


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       e. Material failure to comply with policy terms, conditions or contractual duties. Notice of cancellation will be
          mailed or delivered at least 60 days before the effective date of cancellation.
       f. Other reasons that the Insurance Commissioner may approve. Notice of cancellation will be mailed or
          delivered at least 60 days before the effective date of cancellation.
   TI1is policy may also be cancelled from inception upon discoveiy that the policy was obtained through fraudulent
   statements, omissions or concealment of facts material to the acceptance of the risk or to the hazard assumed by us.
   4. We will mail or deliver our notice to the first Named lnsured's last mailing address known to us. Notice of
      cancellation will state the specific reasons for cancellation.
   5. Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.
   6. If notice is mailed, it will be by registered or first class mail. Proof of mailing will be sufficient proof of notice.
B. The following are added and supersede any provisions to the contrary:
   1. Nonrenewal
      Ifwe decide not to renew this policy, we will mail or deliver written notice ofnonrenewal, stating the specific
      reasons for nomenewal, to the first Named Insw-ed at least 60 days before the expiration date of the policy.
   2. Increase Of Premium
      If we increase yow· renewal premium, we will mail or deliver to the first Named Insured written notice of ow·
      intent to increase the premium at least 30 days before the effective date of the premium increase.
   Any notice of nomenewal or renewal premium increase will be mailed or delivered to the first Named lnsured's
   last known address. If notice is mailed, it will be by registered or first class mail. Proof of mailing will be
   sufficient proof of notice.


             ALL OTHER TERMS M1) CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                                                    IL 0910 07 02

                                   PENNSYLVANIA NOTICE
An Insurance Company, its agents, employees, or              The Act does not apply:
service contractors acting on its behalf, may provide        1. If the injury, death or loss occurred during the
services to reduce the likelihood of injury, death or           actual performance of the services and was
loss. These services may include any of the following           caused by the negligence of the Insurance Com-
or related services Incident to the application for,            pany, its agents, employees or service contractors;
issuance, renewal or continuation of, a policy of insur-
ance.                                                        2. To consultation services required to be performed
                                                                under a written service contract not related to a
 1. Surveys;                                                    policy of insurance; or
2. Consultation or advice; or                                3. lf any acts or omissions of the Insurance Com-
 3. Inspections.                                                pany, its agents, employees or service contractors
The "Insurance Consultation Services Exemption Actu             are judicially determined to constitute a crime, ac-
of Pennsylvania provides that the Insurance Com-                tual malice, or gross negligence.
pany, its agents, employees or service contractors
acting on its behalf, is not liable for damages from
inJury, death or loss occurring as a result of any act or
omission by any person in the furnishing of or the
failure lo furnish these services




                                          Instruction to Policy Writers
 Attach the Penns lvania Notice to all new and renewal certificates insurin risks located in Penns lvania.




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                                                                                             Victor1a.allen@kennedyscmk.com
                                                                                             February 4, 2019


Re:          Seneca Specialty Insurance Company v. Top Class ConstrucUon, Inc., et. al.
             Our File No.: USC038. 927871


Dear Sir or Madam:

       Enclosed for filing please find an original and copy o.f Seneca Specialty Insurance
Company's Amended Complaint for Declaratory Judgment.

        Should you have any questions or concerns, please do not hesitate to contact me.
Thank you for your attention to this matter.




                                                                                          ii~
                                                                                          V~~oria E. Allen
                                                                                          Associate
                                                                                          For Kennedys CMK

Encl.




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